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                              EXHIBIT
                                B
Case 1:25-cv-00131-RGA        Document 11-2     Filed 03/07/25   Page 2 of 19 PageID #: 178
                      GRANTED WITH MOD!                                7184
               ____________________________________ Casa No. 2025-0028-PAF
         ST THE COURT OF CHANCERY OF THE STATE OF DELAWARE

PRINCETON CARBONWORKS,
                    )
INC., a Delaware Corporation,
                    )
                    )
        Plaintiff,  )
                    )
     v.            )                          C.A. No. 2025-0028
                    )
PAUL DANIELS,      )
                    )
        Defendant.)

                                [PROPOSED] ORDER

          The Court, having considered the Application for an Order Permitting Service

by Publication, filed by PlaintiffPrinceton CarbonWorks, Inc., (“PCW”), and having

found good cause therefore,

          IT IS HEREBY ORDERED this             day of January, 2025; that

          1.    Plaintiff Princeton CarbonWorks, Inc., shall send by certified mail,

return receipt requested, to defendant Paul Daniels, at his last known address, a copy

of this Order and copy of the Verified Complaint for Declaratory Relief; and

          2.    Plaintiff Princeton CarbonWorks, Inc. shall publish this Order at least

once a week for three consecutive weeks in the following publication(s):

                (a)   Philadelphia Inquirer, a newspaper circulated in southeastern

Pennsylvania; and




150963095.1
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               (b)   Chestnut Hill Local, a newspaper circulated in Montgomery

  County, Pennsylvania.



                                       Vice Chancellor




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This document constitutes it ruling of the court and should be treated as such.

               Court: DE Court of Chancery Civil Action

               Judge:     Paul A Fioravanti

      File & Serve
   Transaction ID: 75413359

     Current Date: Jan 22, 2025

     Case Number: 2025-0028-PAF

        Case Name: Princeton Carbonworks, Inc. v. Paul Daniels

Court Authorizer:         Paul A Fioravanti Jr



 Court Authorizer
      Comments:

Nothing herein shall preclude defendant from challenging jurisdiction or service of process.


/s/ Judge Paul A Fioravanti Jr
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                              EXHIBIT
                                C
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  Case l:25-cv-00131-RGA            Document 10       Filed 02/21/25     Page 1 of 2 PagelD #: 95




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  PRINCETON CARBONWORKS, INC.

                    Plaintiff,

         v.                                                      C.A. No. 25-131-RGA

  PAUL DANIELS,

                    Defendant.


                                  LOCAL RULE 81.2 STATEMENT

         Plaintiff Princeton CarbonWorks, Inc. (“Plaintiff’) and Defendant Paul Daniels

  (“Defendant”), by and through the undersigned counsel, and pursuant to District of Delaware

  Local Rule 81.2 hereby state as follows:

          1.        This matter was removed from the Delaware Court of Chancery on January 31,

  2025. (D.I. 1).

         2.         On February 13, 2025, Plaintiff completed service as ordered by Vice Chancellor

  Fioravanti. The deadline for Defendant to move, answer, or otherwise respond to the Complaint

  was March 5, 2025.

         3.         On February 21, 2025, Defendant moved to dismiss the Complaint or to transfer

  to the United States District Court for the Southern District of Florida. (D.I. 7). This motion is

  currently pending.
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  Case l:25-cv-00131-RGA        Document 10       Filed 02/21/25     Page 2 of 2 PagelD #: 96




  Dated: February 21, 2025


  LEWIS BRISBOIS BISGAARD & SMITH                 SMITH, KATZENSTEIN & JENKINS
  LLP                                             LLP

  /s/Aimee M. Czachorowski                        /s/Daniel A. Taylor________
  Francis G.X. Pileggi (No. 2624)                 David A. Jenkins (No. 932)
  Aimee M. Czachorowski (No. 4670)                Daniel A. Taylor (No. 6934)
  500 Delaware Avenue, Suite 700                  1000 West Street, Suite 1501
  Wilmington, DE 19801                            Wilmington, DE 19801
  (302) 985-6000                                  (302) 652-8400
  Francis.Pileggi@LewisBrisbois.com               daj@skjlaw.com
  Aimee.Czachorowski@LewisBrisbois.com            dtaylor@skjlaw.com

  PlaintiffPrinceton CarbonWorks, Inc.            Attorneys for Defendant Paul Daniels




                                              2
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                               EXHIBIT
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Czachorowski, Aimee

From:                                 Daniel A. Taylor <DAT@skjlaw.com>
Sent:                                 Thursday, February 20,2025 6:14 PM
To:                                   Czachorowski, Aimee; David Jenkins
Cc:                                   Pileggi, Francis
Subject:                              RE: Princeton CarbonWorks v. Daniels C.A. 1:25-cv-00131-RGA



    EXTERNAL


Hi Aimee,

Thanks for the time on the phone this evening. To summarize our discussion:

    1) Mr. Daniels agrees that service is effective as of the third date of publication in the Philadelphia
       Inquirer, which was Thursday 2/13.
    2) The parties are in agreement that the deadline to move, answer or otherwise respond to the
       Complaint is 20 days from 2/13.
    3) We briefly discussed the possibility of whether or not Plaintiff would consent under 28 U.S.C. §
       1404(b) to transfer the Delaware matter to the Southern District of Florida where the other matter
       is pending.

Daniel

Daniel Taylor | Registered Patent Attorney
Smith, Katzenstein & Jenkins LLP | The Brandywine Building
1000 West Street, Suite 1501 | P.O. Box 410
Wilmington, DE 19899
Direct: 302 5041681
Main: 302 652 8400
dtayloriaskjlaw.com | wwvy-skjlaw-corn


From: Czachorowski, Aimee <Aimee.Czachorowski@lewisbrisbois.com>
Sent: Thursday, February 20, 2025 12:54 PM
To: David Jenkins <DAJ@skjlaw.com>; Daniel A. Taylor <DAT@skjlaw.com>
Cc: Pileggi, Francis <Francis.Pileggi@lewisbrisbois.com>
Subject: RE: Princeton CarbonWorks v. Daniels C.A. l:25-cv-00131-RGA

EXTERNAL EMAIL


Daniel,

I have not yet heard back from you and wanted to follow up on the below email. I also wanted to let you know that
our position is that, because the last publication date was February 13,2025, Mr. Daniels’ response date would be
20 days from February 13. If you’d like to discuss it with me, I’m happy to do so.

Aimee



                                                              i
        Case 1:25-cv-00131-RGA                   Document 11-2 Filed 03/07/25                         Page 10 of 19 PageID #:
                                                             186
                                                Aimee M. Czachorowski

     ft LEWIS
     L? BRISBOIS
                                                Partner
                                                Aimee.Czachorowski@lewisbrisbois.com

                                                T: 302.985.6011 F: 302.985.6001


500 Delaware Avenue, Suite 700, Wilmington, DE 19801 | LewisBrisbois.com

Representing clients from coast to coast. View our Locations nationwide.


 Mansfield Rule
 Certified                   2023-2024
                                     nVERSlTYLAB


This e-mail may contain or attach privileged, confidential or protected information intended only for the use of the intended recipient. If you are
not the intended recipient, any review or use of it is strictly prohibited. If you have received this e-mail in error, you are required to notify the
sender, then delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: Czachorowski, Aimee <Aimee.Czachorowski@lewisbrisbois.com>
Sent: Wednesday, February 19,2025 11:41 AM
To: David Jenkins <DAJ@skilaw.com>: dtaylor@skjlaw.com
Cc: Pileggi, Francis <Francis.Pileggi@lewisbrisbois.com>
Subject: RE: Princeton CarbonWorks v. Daniels C.A. l:25-cv-00131-RGA

Daniel,

It was nice to speak with you just now about whether you can confirm our understanding that formal service of
process in the federal court is unnecessary. I understand you will need to speak with your team, but if you could
please let me know by tomorrow whether you agree, I would appreciate it. Thank you!

Aimee


From: Czachorowski, Aimee <Aimee.Czachorowski@lewisbrisbois.com >
Sent: Thursday, February 13,202512:02 PM
To: David Jenkins <DAJ@skilaw.com>: dat@sjklaw.com
Cc: Pileggi, Francis <Francis.Pileggi@lewisbrisbois.com>
Subject: Princeton CarbonWorks v. Daniels C.A. l:25-cv-00131-RGA

David and Daniel,

All methods of service authorized by Vice Chancellor Fioravanti’s January 22,2025, Order Permitting Service by
Publication in the Chancery Court matter have been completed as of today, February 13,2025. As such, we do not
believe that formal service of process must be initiated in the federal court due to your removal of the case to the
District of Delaware from the Court of Chancery.

Without waiving the position that it is not necessary for Plaintiff to pursue formal service of process in the federal
court, we write to determine whether you will agree to a waiver of service of process pursuant to Federal Rule of
Civil Procedure 4(d) - of course without waiving any substantive arguments you should wish to make.



                                                                        2
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                                                     187
Pursuant to Rule 4(d), we attach a copy of the complaint, a copy of the waiver form, and a notice explaining the
consequences under Rule 4(d)(2) of not waiving service and under 4(d)(3) and (4) if you waive service. FRCP Rule
4(d)(1 )(F) requires us to provide 30 days from February 13,2025, the date of this request, for you to return the
waiver.

Please let me know by noon tomorrow, Friday, February 14, what your position is in response to this email. Please
do not hesitate to contact me should you wish to discuss this further.

Aimee

Aimee M. Czachorowski
Partner
Wilmington
302.985.6011 or X3026011




                                                         3
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                            EXHIBIT
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                                                                                                                                 JG

                                                 U.S. District Court
                                         Southern District of Florida (Miami)
                                   CIVIL DOCKET FOR CASE #: l:25-cv-20137-DPG


   Daniels v. Crotty et al                                                              Date Filed: 01/09/2025
   Assigned to: Judge Darrin P. Gayles                                                  Jury Demand: Plaintiff
   Cause: 28:1332 Diversity-Breach of Fiduciary Duty                                    Nature of Suit: 160 Stockholders Suits
                                                                                        Jurisdiction: Diversity
   Plaintiff
   Paul Daniels                                                           represented by Luke Thomas Jacobs
                                                                                         Weissman & Dervishi P.A.
                                                                                         1 SE 3rd Ave #1700
                                                                                         Suite 1700
                                                                                         Miami, FL 33131
                                                                                         305-347-4070
                                                                                         Email: ljacobs@wdpalaw.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Victoria Max
                                                                                        Weissman & Dervishi P.A.
                                                                                        One SE Third Avenue, Suite 1700
                                                                                        Miami, FL 33131
                                                                                        305-347-4070
                                                                                        Email: victoriamax@wdpalaw.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Brian S. Dervishi
                                                                                        Weissman and Dervishi, P.A
                                                                                        1 Se 3rd Avenue
                                                                                        Suite 1700
                                                                                        Miami, FL 33131-1714
                                                                                        305-793-1581
                                                                                        Email: bdervishi@wdpalaw.com
                                                                                        ATTORNEY TO BE NOTICED


  V.
  Defendant
  Martin Crotty                                                           represented by Kenneth Joseph Joyce
                                                                                         Lewis Brisbois Bisgaard & Smith, LLP
                                                                                         110 se 6th Street
                                                                                         Suite 2600
                                                                                         Fort Lauderdale, FL 33301
                                                                                         954-728-1280
                                                                                         Fax: 954-728-1282
                                                                                         Email: Ken.Joyce@lewisbrisbois.com
                                                                                         LEAD ATTORNEY

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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Diego Elias
                                                                                      Lewis, Brisbois, Bisgaard,, Smith, LLP
                                                                                      110 SE 6th St #2600
                                                                                      Fort Lauderdale, FL 33301
                                                                                      9542741254
                                                                                      Email: diego.elias@lewisbrisbois.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth R Brusa
                                                                                      Lewis Brisbois Bisgaard & Smith LLP
                                                                                      401 E. Jackson Street
                                                                                      Suite 3400
                                                                                      Tampa, FL 33602
                                                                                      813-739-1900
                                                                                      Email: elizabeth.brusa@lewisbrisbois.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Stacy Michelle Schwartz
                                                                                      Lewis Brisbois Bisgaard & Smith LLP
                                                                                      110 SE 6th Street
                                                                                      Suite 2600
                                                                                      Ft. Lauderdale, FL 33301
                                                                                      954-728-1280
                                                                                      Fax: 954-728-1282
                                                                                      Email: stacy.schwartz@lewisbrisbois.com
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Harrison Macris                                                         represented by Kenneth Joseph Joyce
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Diego Elias
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth R Brusa
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Stacy Michelle Schwartz
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Bradley Werntz                                                          represented by Kenneth Joseph Joyce
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Diego Elias
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                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth R Brusa
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Stacy Michelle Schwartz
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

   Defendant
   Princeton Carbon Works Inc.                                            represented by Kenneth Joseph Joyce
   a Florida corporation                                                                 (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Diego Elias
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

   Defendant
   Princeton CarbonWorks, Inc.                                            represented by Kenneth Joseph Joyce
   a Delaware corporation                                                                (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Diego Elias
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth R Brusa
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Stacy Michelle Schwartz
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED


   Date Filed             #    Docket Text
   01/09/2025             1    COMPLAINT AND JURY DEMAND against All Defendants. Filing fees $ 405.00 receipt
                               number AFLSDC-18106349, filed by Paul Daniels. (Attachments: # 1 Civil Cover Sheet, #
                               2 Summon(s), # 2 Exhibit)(Dervishi, Brian) (Entered: 01/09/2025)
   01/09/2025             2    Clerks Notice of Judge Assignment to Judge Darrin P. Gayles.

                               Pursuant to 28 USC 636(c), the parties are hereby notified that the U.S. Magistrate Judge
                               Jonathan Goodman is available to handle any or all proceedings in this case. If agreed,
                               parties should complete and file the Consent form found on our website. It is not necessary
                               to file a document indicating lack of consent.

                               Pro se (NON-PRISONER) litigants may receive Notices of Electronic Filings (NEFS) via
                               email after filing a Consent by Pro Se Litigant (NON-PRISONER) to Receive Notices of
https://ecf.flsd.uscourts.gov/cgi-bin/DktRpt.pl?884644627532087-L_1_0-1                                                      3/7
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                               Electronic Filing. The consent form is available under the forms section of our website,
                               (amb) (Entered: 01/10/2025)
    01/10/2025             2 Summons Issued as to Martin Crotty, Harrison Macris, Princeton Carbon Works Inc.,
                               Princeton Carbonworks, Inc., Bradley Werntz. (amb) (Entered: 01/10/2025)
    01/13/2025             4   Bar Letter re: Admissions sent to attorney Victoria Max, mailing date January 13,2025
                               (nwn) (Entered: 01/13/2025)
    01/17/2025             5   SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day response/answer
                               filing deadline pursuant to Fed. R. Civ. P. 12 by Paul Daniels. Martin Crotty served on
                               1/14/2025, response/answer due 2/4/2025. (Dervishi, Brian) (Entered: 01/17/2025)
   01/17/2025                  SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day response/answer
                               filing deadline pursuant to Fed. R. Civ. P. 12 by Paul Daniels. Harrison Macris served on
                               1/11/2025, response/answer due 2/3/2025. (Dervishi, Brian) (Entered: 01/17/2025)
   01/17/2025             1    SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day response/answer
                               filing deadline pursuant to Fed. R. Civ. P. 12 by Paul Daniels. Bradley Werntz served on
                               1/10/2025, response/answer due 1/31/2025. (Dervishi, Brian) (Entered: 01/17/2025)
   01/21/2025              8 NOTICE OF COURT PRACTICE. Unless otherwise specified by the Court, every motion
                             shall be double-spaced in Times New Roman 12-point typeface. Multiple Plaintiffs or
                             Defendants shall file joint motions with co-parties unless there are clear conflicts of
                             position. If conflicts of position exist, parties shall explain the conflicts in their separate
                             motions. Failure to comply with ANY of these procedures may result in the imposition of
                             appropriate sanctions, including but not limited to, the striking of the motion or dismissal
                             of this action. Signed by Judge Darrin P. Gayles on 1/21/2025. (aci) (Entered: 01/21/2025)
   01/22/2025             2 NOTICE ofAdmission of Victoria Max to the Southern District of Florida Bar by Brian S.
                               Dervishi on behalf of Paul Daniels (Attachments: # 1 Exhibit Clerk Certificate) (Dervishi,
                               Brian) Modified Text on 1/23/2025 (Is). (Entered: 01/22/2025)
   01/22/2025            12 SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day response/answer
                               filing deadline pursuant to Fed. R. Civ. P. 12 by Paul Daniels. Princeton Carbonworks, Inc.
                               served on 1/14/2025, response/answer due 2/4/2025. (Dervishi, Brian) (Entered:
                               01/22/2025)
   01/31/2025            11 SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day response/answer
                               filing deadline pursuant to Fed. R. Civ. P. 12 by Paul Daniels. Princeton Carbon Works Inc.
                               served on 1/29/2025, response/answer due 2/19/2025. (Dervishi, Brian) (Entered:
                               01/31/2025)
   01/31/2025           12 Corporate Disclosure Statement by Martin Crotty, Harrison Macris, Bradley Werntz,
                               Princeton Carbon Works Inc., Princeton Carbonworks, Inc. (Joyce, Kenneth) (Entered:
                               01/31/2025)
   01/31/2025           12 MOTION to Dismiss 1 Complaint by Martin Crotty, Harrison Macris, Bradley Werntz,
                               Princeton Carbon Works Inc., Princeton Carbonworks, Inc.. Responses due by 2/14/2025.
                               (Attachments: # 1 Declaration of Martin Crotty, # 2 Exhibit A to Declaration of Martin
                               Crotty, # 3 Declaration of Harrison Macris, # 4 Ato Declaration of Harrison Macris, # 5
                               Declaration of Bradley Werntz)(Joyce, Kenneth) (Entered: 01/31/2025)
   01/31/2025            14    MOTION to Drop Improper Party Princeton Carbon Works Inc. Pursuant to Rule 21 re 1
                               Complaint by Martin Crotty, Harrison Macris, Bradley Werntz, Princeton Carbon Works
                               Inc., Princeton Carbonworks, Inc.. (Joyce, Kenneth) Modified text on 2/3/2025 (sen).
                               (Entered: 01/31/2025)


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    02/03/2025           15 PAPERLESS ORDER REQUIRING JOINT SCHEDULING REPORT AND PROPOSED
                               SCHEDULING ORDER. Pursuant to S.D. Fla. Local Rule 16.1, on or before February
                               24,2025, the parties shall prepare and file a Joint Scheduling Report, as well as
                               Certificates of Interested Parties and Corporate Disclosure Statements.

                               The parties shall also file a Proposed Scheduling Order, adhering to the format and
                               guidance of the attached form. If the parties deviate in any way from that format and
                               guidance, they shall contemporaneously submit a written explanation, which provides their
                               purported justification for each and every deviation. If the parties fail to submit such
                               written explanation, the Court may enter a Scheduling Order that does not take into
                               account the parties'proposed dates.

                               Failure to comply with this Order shall be grounds for dismissal without prejudice and
                               without further notice. Signed by Judge Darrin P. Gayles on 2/3/2025. (aci) (Entered:
                               02/03/2025)
   02/05/2025            16 NOTICE ofAttorney Appearance by Stacy Michelle Schwartz on behalf of Martin Crotty,
                               Harrison Macris, Bradley Werntz, Princeton Carbonworks, Inc.. Attorney Stacy Michelle
                               Schwartz added to party Martin Crotty(pty:dft), Attorney Stacy Michelle Schwartz added
                               to party Harrison Macris(pty:dft), Attorney Stacy Michelle Schwartz added to party
                               Bradley Werntz(pty:dft), Attorney Stacy Michelle Schwartz added to party Princeton
                               Carbonworks, Inc.(pty:dft). (Schwartz, Stacy) (Entered: 02/05/2025)
   02/05/2025            12 NOTICE of Attorney Appearance by Elizabeth R Brusa on behalf of Martin Crotty,
                               Harrison Macris, Bradley Werntz, Princeton Carbonworks, Inc.. Attorney Elizabeth R
                               Brusa added to party Martin Crotty(pty:dft), Attorney Elizabeth R Brusa added to party
                               Harrison Macris(pty:dft), Attorney Elizabeth R Brusa added to party Bradley
                               Werntz(pty:dft), Attorney Elizabeth R Brusa added to party Princeton Carbonworks, Inc.
                               (pty:dft). (Brusa, Elizabeth) (Entered: 02/05/2025)
   02/05/2025            IS NOTICE of Attorney Appearance by Diego Elias Rusz on behalf of Martin Crotty,
                               Harrison Macris, Bradley Werntz, Princeton Carbon Works Inc., Princeton Carbonworks,
                               Inc.. Attorney Diego Elias Rusz added to party Martin Crotty(pty:dft), Attorney Diego
                               Elias Rusz added to party Harrison Macris(pty:dft), Attorney Diego Elias Rusz added to
                               party Bradley Werntz(pty:dft), Attorney Diego Elias Rusz added to party Princeton Carbon
                               Works Inc.(pty:dft), Attorney Diego Elias Rusz added to party Princeton Carbonworks,
                               Inc.(pty:dft). (Elias Rusz, Diego) (Entered: 02/05/2025)
   02/05/2025           12 MOTION to Stay by Martin Crotty, Harrison Macris, Bradley Werntz, Princeton
                               Carbonworks, Inc.. Responses due by 2/19/2025. (Attachments: # 1 Exhibit l)(Schwartz,
                               Stacy) (Entered: 02/05/2025)
   02/06/2025           2Q NOTICE of Change of Address/Contact Information; Name Change, by Diego Elias (Elias,
                               Diego) (Entered: 02/06/2025)
   02/11/2025           21 Unopposed MOTION for Extension of Time to File Response/Reply/Answer as to 14
                               MOTION Motion to Drop Improper Party Princeton Carbon Works Inc. Pursuant to Rule
                               21 re 1 Complaint, 13 MOTION to Dismiss 1 Complaint by Paul Daniels. (Dervishi,
                               Brian) (Entered: 02/11/2025)
   02/11/2025           22     PAPERLESS ORDER granting 21 Plaintiffs Unopposed Motion for Extension of Time to
                               File a Response to Defendants' Joint Motion to Dismiss and to Drop Improper Party (the
                               "Joint Motion"). On or before February 24,2024, the Plaintiff shall file a Response to the
                               Defendants' Joint Motion. Signed by Judge Darrin P. Gayles on 2/11/2025. (aci) (Entered:
                               02/11/2025)


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    02/11/2025                 Reset Deadlines as to 13 MOTION to Dismiss 1 Complaint, 14 MOTION to Drop
                               Improper Party Princeton Carbon Works Inc. Pursuant to Rule 21 re 1 Complaint.
                               Responses due by 2/24/2024. (ls)(per DE #22) (Entered: 02/12/2025)
    02/19/2025           21 RESPONSE in Opposition re 19 MOTION to Stay filed by Paul Daniels. Replies due by
                               2/26/2025. (Dervishi, Brian) (Entered: 02/19/2025)
    02/21/2025           24 Defendant's REPLY in Support of Motion re 19 MOTION to Stay. Rule 16, Rule 26
                               Obligations and Merits Based Discovery Pending Resolution of Their Motion to Dismiss
                               filed by Martin Crotty, Harrison Macris, Bradley Werntz, Princeton CarbonWorks, Inc..
                               (Joyce, Kenneth) (Entered: 02/21/2025)
    02/24/2025           21 Joint SCHEDULING REPORT - Rule 16.1 by Paul Daniels, Martin Crotty, Harrison
                               Macris, Bradley Werntz, Princeton CarbonWorks, Inc. (Dervishi, Brian) (Entered:
                               02/24/2025)
    02/24/2025           21 Joint NOTICE of Consent by Paul Daniels, Martin Crotty, Harrison Macris, Bradley
                               Werntz, Princeton CarbonWorks, Inc. (Dervishi, Brian) (Entered: 02/24/2025)
    02/24/2025           22 Statement of: Disclosure by Paul Daniels (Dervishi, Brian) (Entered: 02/24/2025)
    02/24/2025           21 Second MOTION for Extension of Time to File Response/Reply/Answer as to 14
                               MOTION Motion to Drop Improper Party Princeton Carbon Works Inc. Pursuant to Rule
                               21 re 1 Complaint, 13 MOTION to Dismiss 1 Complaint by Paul Daniels. (Attachments: #
                               1 Text of Proposed Order Proposed order)(Dervishi, Brian) (Entered: 02/24/2025)
   02/25/2025            29    Clerk's Notice to Filer re 26 Notice (Other). Wrong Event Selected; ERROR - The Filer
                               selected the wrong event. The correct event is Consent to Jurisdiction by US Magistrate
                               Judge.; CORRECTIVE ACTION REQUIRED WITHIN 3 DAYS - Filer must refile the
                               document using the correct event. (Is) (Entered: 02/25/2025)
   02/25/2025            30    Joint Notice and Consent to Jurisdiction US Magistrate Judge signed by all parties for
                               Discovery Motions. Filed by Paul Daniels, Martin Crotty, Harrison Macris, Bradley
                               Werntz, Princeton CarbonWorks, Inc. (Dervishi, Brian) (Entered: 02/25/2025)
   02/26/2025            31    MOTION for Judicial Notice in Opposition re 13 MOTION to Dismiss 1 Complaint by
                               Paul Daniels. (Attachments: # 1 Exhibit Certificate of Interested Persons, # 2 Exhibit
                               Motion to Transfer, # 1 Exhibit Response to Motion to Transfer, # 4 Exhibit Order Denying
                               Motion to Transfer)(Dervishi, Brian) (Entered: 02/26/2025)
   02/26/2025           22 RESPONSE in Opposition re 13 MOTION to Dismiss 1 Complaint filed by Paul Daniels.
                               Replies due by 3/5/2025. (Attachments: # 1 Exhibit Corporate By-Laws, # 2 Exhibit
                               Parallel Motion to Dismiss)(Dervishi, Brian) (Entered: 02/26/2025)
   02/26/2025           22 AFFIDAVIT signed by: Brian S. Dervishi re 32 Response in Opposition to Motion by Paul
                               Daniels (Attachments: # 1 Exhibit Letter to PCW, # 2 Exhibit Letter from PCW, # 2
                               Exhibit E-mail from PCW, # 4 Exhibit Letter to PCW)(Dervishi, Brian) (Entered:
                               02/26/2025)
   02/26/2025           34     RESPONSE in Opposition re 14 MOTION Motion to Drop Improper Party Princeton
                               Carbon Works Inc. Pursuant to Rule 21 re 1 Complaint filed by Paul Daniels. Replies due
                               by 3/5/2025. (Dervishi, Brian) (Entered: 02/26/2025)
   02/27/2025           35     PAPERLESS ORDER Setting Hearing on Motion to Stay 19 . The hearing shall take place
                               on March 14,2025, at 10:00 AM in the Miami Division before Judge Darrin P. Gayles at
                               the Wilkie D. Ferguson Jr. U.S. Courthouse, 400 North Miami Avenue, Courtroom 11-1,
                               Miami, Florida. Signed by Judge Darrin P. Gayles on 2/27/2025. (skz) (Entered:
                               02/27/2025)

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    02/28/2025           36 Unopposed MOTION to Seal Portion ofDeclaration ofBrian S. Dervishi per Local Rule
                                5.4 by Martin Crotty, Harrison Macris, Bradley Werntz, Princeton CarbonWorks, Inc..
                                (Elias, Diego) (Entered: 02/28/2025)
    03/04/2025           32 MOTION for Extension of Time to File Response/Reply/Answer as to 32 Response in
                                Opposition to Motion, 34 Response in Opposition to Motion to Dismiss and Motion to
                                Drop Improper Party by Martin Crotty, Harrison Macris, Bradley Werntz, Princeton
                                CarbonWorks, Inc.. (Attachments: # 1 Text of Proposed Order)(Elias, Diego) (Entered:
                                03/04/2025)
    03/04/2025           38     Paperless Order granting the 28 Plaintiffs Second Unopposed Motion for Extension of
                                time to File Responses to Defendants' Joint Motions to Dismiss and to Drop Improper
                                Party. Signed by Judge Darrin P. Gayles on 3/4/2025. (skz) (Entered: 03/04/2025)
    03/04/2025           39     PAPERLESS ORDER granting the Defendants' 32 Motion for Extension of Time to File
                                Replies in Support of Motion to Dismiss 32 , Replies in Support of Motion to Drop
                                Improper Party 34, and Response to Plaintiffs Motion for Judicial Notice 31 . On or
                                before March 18,2025, Defendants shall file their responsive pleadings. Signed by Judge
                                Darrin P. Gayles on 3/4/2025. (skz) (Entered: 03/04/2025)
    03/05/2025           4Q NOTICE ofFiling Proposed Order by Martin Crotty, Harrison Macris, Bradley Werntz,
                               Princeton CarbonWorks, Inc. re 36 Unopposed MOTION to Seal Portion ofDeclaration of
                               Brian S. Dervishi per Local Rule 5.4 (Attachments: # IText of Proposed Order) (Elias,
                               Diego) (Entered: 03/05/2025)



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